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     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     DONALD TAYLOR
 7
 8
 9                        IN THE UNITED STATES DISTRICT COURT
10                      FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )       No. 2:09-CR-0325 KJM
                                     )
14                  Plaintiff,       )
                                     )       ORDER MODIFYING
15        v.                         )       RESTITUTION PAYMENT SCHEDULE
                                     )       DURING INCARCERATION
16   DONALD TAYLOR,                  )
                                     )
17                  Defendant.       )       Judge: Hon. Kimberly J. Mueller
                                     )
18   _______________________________ )
19
20        The Court grants defendant’s motion to modify the restitution
21   payment schedule. (ECF 79)
22        The judgment filed December 2, 2010, is hereby modified pursuant to
23   18 U.S.C. § 3664(k), to provide that, while incarcerated, defendant shall
24   pay restitution through the Inmate Financial Responsibility Program in an
25   amount not to exceed $25 per month.
26   /////
27   /////
28   /////
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 1        The Clerk is directed to serve a copy of this order on the Bureau of
 2   Prisons and on the institution at FCI Lompoc.
 3        IT IS SO ORDERED.
 4   Dated:    February 4, 2013.
 5
                                                       UNITED STATES DISTRICT JUDGE
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